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                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI


IN RE: MICHAEL THOMAS                                         CHAPTER 13

DEBTOR                                                        CASE NO. 17-12661 JDW

         MOTION TO MODIFY CHAPTER 13 PLAN AFTER CONFIRMATION


       COMES NOW, Michael Thomas, Debtor, pursuant to 11 U.S.C. § 1329, and by and

through his attorney of record, and states as follows:

       1.      That Debtor’s Chapter 13 Plan was confirmed on January 4, 2018 [Dkt. 32]

providing for a plan period of 60 months, with 100% to unsecured creditors.

       2.      The Debtor’s confirmed plan allows for payment of a 2015 Chevrolet Impala

to USAA Federal Savings Bank. The Debtor was involved in a car accident where the vehicle

was deemed a total loss on January 7, 2019. The Debtor’s insurance policy will only pay the

value of the vehicle to the lien holder.

       3.      Debtor now requests that his plan be modified to remove the ongoing

payment to USAA Federal Savings Bank from the plan and the Trustee to cease payments to said

creditor. Debtor requests that any deficiency owed following sale of the vehicle be treated as an

unsecured claim.

       4.      Debtor requests his distribution to unsecured creditor remain at 100%.

       5.      All creditors listed on the mailing matrix shall have a minimum of 21 days from

the date of filing of the motion to file a response or objection with the Court.

       WHEREFORE, PREMISES CONSIDERED, Debtor moves this Honorable Court to
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enter an order directing the modification of Chapter 13 plan after confirmation.

                                             Respectfully submitted,

                                            /s/Robert H. Lomenick
                                             ROBERT H. LOMENICK, JR., MSB 104186
                                             ALLEN CHERN LAW, LLC
                                             126 NORTH SPRING STREET
                                             POST OFFICE BOX 417
                                             HOLLY SPRINGS, MS 38635
                                             662-252-3224/rlomenick@gmail.com
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                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI


IN RE: MICHAEL THOMAS                                          CHAPTER 13

DEBTOR                                                         CASE NO. 17-12661 JDW

                               NOTICE OF MOTION

        PLEASE TAKE NOTICE that all responses are due on or before January 28, 2019, to

consider and act upon the Motion for Modification of Chapter 13 Plan After Confirmation.

        Should any party receiving this notice respond or object to said motion such response or

objection is required to be filed with the Clerk of this Court, U.S. Bankruptcy Court, Northern

District of Mississippi, 703 Highway 145 North, Aberdeen, Mississippi 39730, and served on the

Attorney for the Movant on or before said objection due date. If any objection or response is

filed, the Court will notify the parties of a date, time and place for the hearing thereon,

otherwise, the Court may consider said motion immediately after the objection or response due

date.

        RESPECTFULLY SUBMITTED, this the 17th day of January, 2019.

                                               /s/Robert H. Lomenick
                                               ROBERT H. LOMENICK, JR., MSB 104186
                                               ALLEN CHERN LAW, LLC
                                               126 NORTH SPRING STREET
                                               POST OFFICE BOX 417
                                               HOLLY SPRINGS, MS 38635
                                               662-252-3224/rlomenick@gmail.com
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                                   CERTIFICATE OF SERVICE

       I, Robert H. Lomenick, Jr., Attorney for Debtor, do hereby certify that I have this day

mailed postage prepaid and/or via electronic delivery, a true and correct copy of the above and

foregoing Motion To Modify Chapter 13 Plan After Confirmation and Notice of Motion to:

Locke D. Barkley
Chapter 13 Trustee
6360 I-55 North, Suite 140
Jackson, MS 39211

Office of the U. S. Trustee
501 East Court Street, Suite 6-430
Jackson, MS 39201

USAA Federal Savings Bank
P.O. Box 25145
Lehigh Valley, PA 18002

all creditors on matrix

       This the 17th day of January 2019.

                                             _/s/Robert H. Lomenick________
                                              ROBERT H. LOMENICK
